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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL                        )
 DIVERSITY, DEFENDERS OF                      )
 WILDLIFE, and SAVE THE MANATEE               )
 CLUB,                                        )
                                              )
         Plaintiffs,                          )
                                              )
                                                Case No.: 1:22-cv-00246-TNM
                 v.                           )
                                              )
 U.S. FISH AND WILDLIFE SERVICE,              )
                                              )
         Defendant.                           )
                                              )
                                              )
                                              )


        STIPULATED SETTLEMENT AGREEMENT AND [PROPOSED] ORDER

        This Stipulated Settlement Agreement (“Agreement”) is entered into by and between

Plaintiffs Center for Biological Diversity, Defenders of Wildlife, and Save the Manatee Club

(“Plaintiffs”) and Defendant U.S. Fish and Wildlife Service (“Service” or “FWS”) (collectively,

“parties”), who, by and through their undersigned counsel, state as follows:

        WHEREAS, the Florida manatee (Trichechus manatus latirostris) was listed as an

endangered species in 1967 under the Endangered Species Preservation Act, the forerunner to the

Endangered Species Act (“ESA”);

        WHEREAS, FWS designated critical habitat for the Florida manatee in 1976, delineating

waterways in Florida that were known to be important concentration areas for manatees at that

time;
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       WHEREAS, on December 19, 2008, Plaintiffs petitioned FWS under the Administrative

Procedure Act (“APA”) and ESA to undertake a rulemaking to revise critical habitat for the

Florida manatee;

       WHEREAS, on September 16, 2009, FWS published a 90-day positive finding regarding

the petition, determining that revising critical habitat for the Florida manatee may be warranted.

74 Fed. Reg. 49,842 (Sept 29, 2009);

       WHEREAS, on January 12, 2010, after “a thorough review of all available scientific and

commercial information,” FWS found that “revisions to critical habitat for the Florida manatee

are warranted.” 75 Fed. Reg. 1574 (Jan. 12, 2010). FWS stated that “sufficient funds are not

available due to higher priority actions such as court-ordered listing-related actions and judicially

approved settlement agreements” and that it intended “to initiate rulemaking when we complete

[] higher priorities and have the necessary resources to do so.” Id. at 1574;

       WHEREAS, the Service has not yet revised critical habitat for the Florida manatee;

       WHEREAS, on February 1, 2022, Plaintiffs filed the above-captioned action to compel

the Service to revise the critical habitat designation for the Florida manatee by a date certain,

ECF No. 1;

       WHEREAS, the parties, through their authorized representatives, and without any final

adjudication of the issues of fact or law with respect to Plaintiffs’ claims, have negotiated a

settlement that they consider to be in the public interest and a just, fair, adequate, and equitable

resolution of the disputes set forth in Plaintiffs’ Complaint;

       WHEREAS, the parties desire to resolve Plaintiffs’ claims according to the terms set

forth below, and thus hereby stipulate and agree as follows:
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       1.       On or before September 12, 2024, the Service shall submit to the Office of the

Federal Register for publication a proposed revision of critical habitat for the Florida manatee.

       2.       The Order entering this Agreement may be modified by the Court upon good

cause shown, consistent with the Federal Rules of Civil Procedure, by written stipulation

between the parties filed with and approved by the Court, or upon written motion filed by one of

the parties and granted by the Court. In the event that either party seeks to modify the terms of

this Agreement, including the deadline specified in Paragraph 1, or in the event of a dispute

arising out of or relating to this Agreement, or in the event that either party believes that the

other party has failed to comply with any term or condition of this Agreement, the party seeking

the modification, raising the dispute, or seeking enforcement shall provide the other party with

notice of the claim or modification. The parties agree that they will meet and confer (either

telephonically or in person) at the earliest possible time in a good-faith effort to resolve the claim

before seeking relief from the Court. If the parties are unable to resolve the claim themselves,

either party may seek relief from the Court.

       3.       In the event that Defendant fails to meet the deadline specified in Paragraph 1 and

has not sought to modify it, Plaintiffs’ first remedy shall be a motion to enforce the terms of this

Agreement, after following the dispute resolution procedures described above. This Agreement

shall not, in the first instance, be enforceable through a proceeding for contempt of court.

       4.       This Agreement requires only that Defendant take the actions specified in

Paragraph 1. No provision of this Agreement shall be interpreted as, or constitute, a commitment

or requirement that Defendant take action in contravention of the ESA, the APA, or any other

law or regulation, either substantive or procedural. Nothing in this Agreement shall be construed

to limit or modify the discretion accorded to Defendant by the ESA, APA, or general principles
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of administrative law with respect to the procedures to be followed in making any determination

required herein, or as to the substance of any determinations made pursuant to Paragraph 1 of the

Agreement. To challenge any final determination, Plaintiffs must file a separate action.

Defendant reserves the right to raise any applicable claims or defenses to such challenges.

       5.       No part of this Agreement shall have precedential value in any litigation or in

representations before any court or forum or in any public setting. No party shall use this

Agreement or the terms herein as evidence of what does or does not constitute a reasonable

timeline for making a determination regarding critical habitat for any listed species.

       6.       Nothing in this Agreement shall be construed or offered as evidence in any

proceeding as an admission or concession of any wrongdoing, liability, or any issue of fact or

law concerning the claims settled under this Agreement or any similar claims brought in the

future by any other party. Except as expressly provided in this Agreement, none of the parties

waives or relinquishes any legal rights, claims, or defenses it may have. This Agreement is

executed for the purpose of settling Plaintiffs’ Complaint, and nothing herein shall be construed

as precedent having preclusive effect in any other context.

       7.       Nothing in this Agreement shall be interpreted as, or shall constitute, a

requirement that Defendant is obligated to pay any funds exceeding those available, or take any

action in contravention of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other applicable

appropriations law.

       8.       The parties agree that this Agreement was negotiated in good faith and that it

constitutes a settlement of claims that were disputed by the parties. By entering into this

Agreement, the parties do not waive any claim or defense except as expressly stated herein. This

Agreement contains all of the terms of agreement between the parties concerning the Complaint,
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and is intended to be the final and sole agreement between the parties with respect thereto. The

parties agree that any prior or contemporaneous representations or understanding not explicitly

contained in this written Agreement, whether written or oral, are of no further legal or equitable

force or effect.

        9.         The undersigned representatives of each party certify that they are fully

authorized by the party or parties they represent to agree to the terms and conditions of this

Agreement and do hereby agree to the terms herein. Further, each party, by and through its

undersigned representative, represents and warrants that it has the legal power and authority to

enter into this Agreement and bind itself to the terms and conditions contained in this

Agreement.

        10.        The terms of this Agreement shall become effective upon entry of an Order by the

Court ratifying the Agreement.

        11.        Plaintiffs reserve their right to request reasonable fees from Defendant and

Defendant reserves its right to contest Plaintiffs’ entitlement to recover fees in this case and the

amount of any such fees, and do not waive any objection or defenses they may have to Plaintiffs’

fee request. If the parties are unable to settle Plaintiffs’ fee claim, Plaintiffs will have 60 days

from the approval of this Agreement to file a motion for fees.

        12.        Upon adoption of this Agreement by the Court, all counts of Plaintiffs’ Complaint

shall be dismissed with prejudice. Notwithstanding the dismissal of this action, however, the

parties hereby stipulate and respectfully request that the Court retain jurisdiction to oversee any

dispute as to fees and compliance with the terms of this Agreement and to resolve any motions to

modify such terms. See Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994).

Dated May 26, 2022
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                           Respectfully submitted,

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                           SETH M. BARSKY, Chief
                           MEREDITH L. FLAX, Assistant Chief

                           /s/ Mark Arthur Brown
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                                       Attorneys for Plaintiffs




      IT IS SO ORDERED.

Dated: _________________, 2022   By:   _________________________________
                                       HON. TREVOR N. MCFADDEN
                                       UNITED STATES DISTRICT JUDGE
